March 17, 2006

Mr. Marshall M. Searcy Jr.
201 Main Street, Suite 2500
Fort Worth, TX 76102

Mr. Ralph H. Duggins
801 Cherry Street, Suite 2100
Fort Worth, TX 76102-6881

Mr. David F. Farris
777 Main Street, Suite 1920
Fort Worth, TX 76102

Mr. John L. Malesovas
P.O. Box 1709
Waco, TX 76703-1709

Mr. Wade Caven Crosnoe
701 Brazos, Suite 1500
Austin, TX 78701

Mr. William L. Kirkman
201 Main Street, Suite 1400
Fort Worth, TX 76102-3118

Mr. Donald H. Ray
6115 Camp Bowie Blvd., Suite 200
Fort Worth, TX 76116-5500

RE:   Case Number:  04-0156
      Court of Appeals Number:  02-03-00307-CV
      Trial Court Number:  067-186659-01
Style:      IN RE  JAMES E. TAIT

Dear Counsel:

      Pursuant to Texas Rule of Appellate Procedure 52.8(c), without hearing
oral argument, the Court conditionally granted the petition for writ of
mandamus and issued the enclosed per curiam opinion in the above-referenced
cause.  The Motion for Temporary Relief is dismissed as moot.
                                       Sincerely,
                                       [pic]
                                       Andrew Weber, Clerk
                                       by Claudia Jenks, Chief Deputy Clerk
Enclosures
|cc:|Ms. Stephanie Lavake    |
|   |Mr. Thomas P. Hughes    |
|   |Mr. R. H. Wallace Jr.   |
|   |Mr. Walker C. Friedman  |
|   |Honorable Donald J.     |
|   |Cosby                   |
|   |The Honorable James A.  |
|   |Baker                   |

